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                                                                       N.D. OF ALABAMA
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            Education Additions to Schedule 1
            Education Corporation of America Portfolio Report
OPE ID      Address                                             City           ST   Landlord Name                                              Students Notes
03010600    500 Palisades Boulevard                             Birmingham     AL   Palisades Birmingham, LLC - Bryant, Dick                        487 Main OPE is at 488 Palisades
03010602    2021 Drake Avenue                                   Huntsville     AL   CMS EDU II Huntsville, LP                                       178
03010607    3725 Airport Boulevard & Montlimar Drive            Mobile         AL   Mobile Festival Acquisition LLC, c/o Veritas Realty             296

03010616    6200 Atlanta Highway                                Montgomery     AL   Folmar & Associates LLP                                          204
03010613    2031 N Arizona Avenue                               Chandler       AZ   EC Chandler, LLC and Warner Chandler, LLC                         58
02351901    1914 Wible Road, Kaplan College                     Bakersfield    CA   Valley Plaza Mall, LP                                            115
03010611    1950 Camino Vida Roble                              Carlsbad       CA   PRA Carlsbad Office, LLC, c/o Pacific Realty Advisors             83

02091702    144 Chula Vista Center                              Chula Vista    CA   Chula Vista Center, LLC c/o Chula Vista Center, LLC              212
02306302    44 Shaw Avenue                                      Clovis              5561 Sultana, LLC                                                128
                                                                               CA
02549005    2475 Tahquitz Canyon Way                            Palm Springs   CA   Desert Community College Auxiliary Svcs                          181
02539102    4040 Vine Street                                    Riverside      CA   Cityworks , LLC c/o American Real Eatate Mgnt LLC                297

02351900    4330 Watt Avenue                                    Sacramento     CA   Boyd Sacramento GSA, LLC                                         236
02306300    5172 Kiernan Court                                  Salida         CA   Pinnacle Partners, LLC                                           298



02091700    9055 Balboa Avenue                                  San Diego      CA   LBA Balboa LLC c/c Layton-Belling & Associated - Layton,         746
                                                                                    Steven AR
02539100    15400 Sherman Way                                   Van Nuys       CA   15350/15400 Sherman Reverse, LLC                                 580
02549000    2022 University Drive                               Vista          CA   National University                                              370
03010622    1400 S. Abilene Street                              Aurora         CO   National Retail Properties, LP                                   210
03010612    510 South Hunt Club Boulevard                       Apopka         FL   CEVD Holdings, LLC                                                83
03010635    2810 South Federal Highway & 2838 South Highway 1   Fort Pierce    FL   The Don Levin Trust - Gallagher, Thomas P                        100
03010618    5940 Beach Boulevard                                Jacksonville   FL   Herford Associates Limited Partnership, c/o Ingber &             523
                                                                                    Klapper LLP
03010608    312 East Nine Mile Road                             Pensacola      FL   NC Pensacola, LLC                                                163
03010619    2807 Wylds Road                                     Augusta        GA   Augusta NCP, LLC                                                 398

03010628    5601 Veterans Parkway                               Columbus       GA   5601 VPCG, LLC                                                   209
03010623    1901 Paul Walsh Drive                               Macon          GA   VC Macon, GA, LLC                                                142
duplicate   1901 Paul Walsh Drive                               Macon          GA   VC Macon, GA, LLC                                          duplicate
03010627    14045 Abercorn Street                               Savannah       GA   Savannah Mall Realty Holding, LLC                                374
02201800    7833 Indianapolis Blvd.                             Hammond        IN   GELO Investments, LLC                                            276
02201806    4200 South East Street                              Indianapolis   IN   Southern Plaza LLC, c/o Tri-Land Properties, Inc.                394
03010624    9355 Cortana Place                                  Baton Rouge    LA   Cortana Mall LA LCC                                              243 actual address of location is 9501
                                                                                                                                                           Cortana Place
03010632    2950 East Texas Street                              Bossier        LA   Pierre Bossier Anchor Acquisition, LLC                           216
03965300    10 High Street                                      Boston         MA   KNH Realty Trust, c/o Farley White Management                   1154
                                                                                    Company
00749100    1520 S. Caton Avenue                                Baltimore      MD   Highroad LLC and Highroad Joh Ave., LLC                          358
02083600    4600 Powder Mill Road                               Beltsville     MD   DenGar Belt LLLP                                                 506
01041000    803 Gleneagles Court                                Towson         MD   Gleneagles Office LLC                                            170
03010610    920 Cedar Lake Road                                 Biloxi         MS   Gulf States Properties, Inc.                                     172
duplicate   920 Cedar Lake Road                                 Biloxi         MS   Gulf States Properties, Inc.                               duplicate
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03010603            5841 Ridgewood Road                          Jackson          MS   George Joseph Assets, LLC                                219
2326203             6070 E. Independence Boulevard               Charlotte        NC   R & W Rentals LLC                                        286
03010634            3700 South Holden Road                       Greensboro       NC   BVB-NC, LLC                                              333 OPE 03010634 is at 3740 South
                                                                                                                                                      Holden.
03043200            3535 West Sahara Avenue                      Las Vegas        NV   Las Vegas Associates, LLLP                               506
02052000            2800 East River Road                         Dayton           OH   Nassif Gobrial and Monica Gobrial                        106
03010631            5124 South Peoria Avenue                     Tulsa            OK   American Autowash LLC, American Autowash Express LLC a    12 Closed

00778100            1991 Sproul Road                             Broomall         PA   Federal Realty Investment Trust - Property #1442         294
00491000            5620 & 5630 Derry Street                     Harrisburg       PA   Electra Realty Company                                   127 address in system in 5650 Derry
00491000            5650 Lancaster Street                        Harrisburg       PA   Lebo Realty, L.P.
00491001            3010 Market Street                           Philadelphia     PA   3000 Market, L.P. - DeVuono, Jeff                        344
02289800            125 Franklin Mills Boulevard                 Philadelphia     PA   BH Franklin, LLLP                                        492 address in system is 177 Franklin Mills
                                                                                                                                                      Boulevard
00743600            933 Penn Avenue                              Pittsburgh       PA   iPenn Ventures, LP c/o Draxxhall Management              146
                                                                                       Corporation
03010620            6185 Rivers Avenue                           Charleston       SC   Randall Benderson 1993-1 Trust                           242
03010621            7201 Two Notch Road                          Columbia         SC   CKS-VCC LLC                                              169
03010633            2400 David H. McLeod Blvd                    Florence         SC   Fields McLeod, LLC                                       229
03010617            78 Global Drive                              Greenville       SC   Fair Forest of Greenville, LLC                           276
03010617            68 Global Drive                              Greenville       SC   Fair Forest of Greenville, LLC                                 this appears to be carry over space
                                                                                                                                                      from 03010617
03010614            1900 Joe White Avenue                        Myrtle Beach     SC   G & G Holdings LLC                                       108
03010626            8150 Warren H. Abernathy Highway             Spartanburg      SC   CMS EDU II Spartanburg, L.P. , c/ o Beacon Commercial    143
                                                                                       Real Estate, LLC
03010606            721 Eastgate Loop Road                       Chattanooga      TN   Osborne Holdings, LLC                                    140
03010606            5704 Marlin Road                             Chattanooga      TN   Osborne Building Corporation
03010630            5003 N. Broadway Street                      Knoxville        TN   National Retail Properties, LP                           278
02326200            750 Envious Lane                             Nashville        TN   Aspen Kap LLC                                            285
03272303            2241 S. Watson Rd.                           Arlington        TX   Pioneer Industrial, LLC, c/o LaSalle Investment          104
                                                                                       Management, Inc.
03272303            2831 East Arkansas Lane                      Arlington        TX   Pioneer Parking Lot, LLC, c/o LaSalle Investment
                                                                                       Management, Inc.
03010604            14200 North Interstate Highway 35            Austin           TX   National Retail Properties, LP                           193
03115803            6115 Eastex Freeway                          Beaumont         TX   Parkdale Mall CMBS, LLC, c/o CBL & Associates            130
                                                                                       Management, Inc.
02591905            1900 N. Expressway 77/83                     Brownsville      TX   Water Tower Development, LLC                             223
00946609            1620 South Padre Island Drive                Corpus Christi   TX   South Coast Plaza, LLC, c/o Property Managers, LLC       353

03272300            12005 Ford Road                              Dallas         TX     Northpointe Centre                                       334
02591900/02591904   8360 Burnham Road & 1231 Lee Trevino Drive   El Paso        TX     Burnham Properties, Ltd.                                 241
03010629            1861 Valley View Lane                        Farmers Branch TX     Kennington Properties - McCann, Betsy                     73

03010629            1861 Valley View Lane                        Farmers Branch TX     Valley View Land Partnership, Ltd.

00946610            2001 Beach Street                            Fort Worth       TX   Quality Hill LLC - Hill, Steve                           241
02312202            3208 FM 528                                  Friendswood      TX   MDDS Properties, LLC                                     156
02312200            711 E. Airtex Drive                          Houston          TX   Alan Keith Avra and Matthew W. Avra                      346
03115802            6410 McPherson Road                          Laredo           TX   Barcelona Investments, LLC                               173
03010636            5001 - 5005 50th Street                      Lubbock          TX   James Wayne                                              382
00946607            1400 East Oakland Avenue                     McAllen          TX   Palmer Enterprises, Inc.                                 266 address in system is 1500 South
                                                                                                                                                      Jackson
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03115800   6441 NW Loop 410                             San Antonio   TX   FTRU San Antonio, LLC, c/o GS Management Company     329
00946600   7142 San Pedro Avenue                        San Antonio   TX   San Pedro Towne Center LLC - Hicks, Anjanette        291
03010625   7200 Midlothian Turnpike                     Richmond      VA   BSF Richmond, L.P.                                   403
                                                                                                                              19133
3010638                                                 Semmes        AL                                                         47 Not on Lease - Schedule 1 to Order
                                                                                                                                      Granting Temporary Injunctive Releif

                                                                                                                              19180

           Highlight is locations reported as closing
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Puffer, Rhonda

From:                               Puffer, Rhonda
Sent:                               Wednesday, October 17, 2018 1:22 PM
To:                                 Morelli, Denise
Subject:                            FW: Notification of Certain Developments


This is the lease information for ECA. 
 
From: Roger Swartzwelder [mailto:roger.swartzwelder@ecacolleges.com]
Sent: Tuesday, October 02, 2018 9:44 AM
To: Mecca, Shari
Cc: Roger Swartzwelder
Subject: Notification of Certain Developments
 
Shari, 
 
Good morning. As you are aware, ECA recently announced its decision to teach out and close 26 underperforming 
campuses, which have been significantly and negatively impacting ECA’s financial condition for some time. In another 
effort to shore up ECA’s financial stability, we also hired a third‐party real estate restructuring firm last month to engage 
with all of our landlords to seek rent reductions and abatements, lease modifications, and other concessions that would 
lower our short‐ and long‐term occupancy costs. One aspect of this strategy has been to delay certain rent payments 
while we continue our negotiations. 
 
As you might imagine, some of our landlords have granted the concessions that we sought, but others have reacted 
negatively. In several cases over the last week, we have been served with documents by landlords that have filed court 
actions seeking to enforce the terms of the leases. We are continuing to interact with those landlords in an effort to 
reach accommodations satisfactory to both parties. 
 
It is not clear to us whether legal actions by landlords in lease disputes are mandatory reportable events under the 
language in the Department’s October 18, 2017, letter placing ECA’s schools on provisional certification. Nevertheless, 
please accept this email as notification in accordance with the spirit of that letter. 
 
Among the campuses slated for closure is the Virginia College campus in Tulsa, Oklahoma. Since the announcement, 
several students have withdrawn, with only 13 students still enrolled across several different programs at Tulsa. We 
have determined that a teachout in these circumstances does not provide a quality educational experience for our 
students and is financially untenable. Therefore, we are announcing today that the Tulsa campus will close following the 
completion of the students’ current module on Tuesday, October 9. We are arranging transfer options to National 
American University and New England College of Business and Finance, and we will work with any students who seek to 
transfer elsewhere. Any students who elect not to transfer will be provided a full refund of all monies paid to Virginia 
College. 
 
Please let me know if you have any questions or need anything further. 
 
Roger 
 
Roger L. Swartzwelder 
EVP, General Counsel and Chief Compliance Officer  
 
Education Corporation of America 
                                                              1
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3660 Grandview Parkway, Suite 300 
Birmingham, AL 35243  
 
direct 205.329.7903 | ext 2203 | fax 205.912.6701  
roger.swartzwelder@ecacolleges.com | www.ecacolleges.com  
 
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